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 3
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 5
                                  UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                    )    Case No. 2:12-cr-00169-MCE-12
     UNITED STATES OF AMERICA,                        )
 9                                                    )    STIPULATION AND ORDER
                     Plaintiff,                       )    CONTINUING STATUS CONFERENCE
10                                                    )    AND EXCLUDING TIME
            vs.                                       )
11                                                    )
     BRUCE THURMMON,                                  )
12                                                    )
                     Defendant                        )
13                                                    )
14
            Jason Hitt, Assistant U.S. Attorney, for the government, and Timothy E. Warriner, for the
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     defendant, hereby stipulate that the status conference now set for September 4, 2014 be
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     continued to October 23, 2014 at 9:00 a.m. Defense counsel needs additional time to review the
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     investigative reports and wire recordings, and to engage in plea negotiations. Therefore, the
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     parties further stipulate that the court exclude the period from the date of this order through

20   October 23, 2014 from the time within which the trial of this criminal prosecution must

21   commence for purposes of the Speedy Trial Act. The parties stipulate that the ends of justice
22   served by granting the defendant’s request for a continuance outweigh the best interest of the
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     public and the defendant in a speedy trial, and that this is an appropriate exclusion of time for
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     defense preparation within the meaning of 18 U.S.C. § 3161(h)(7) (Local Code T4).
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 3   DATED: September 2, 2014                      /s/ Timothy E. Warriner, Attorney for Defendant,
                                                   Bruce Thurmon
 4
     DATED: September 2, 2014                      /s/ Jason Hitt, Assistant U.S. Attorney
 5

 6

 7                                                ORDER

 8          GOOD CAUSE APPEARING and based upon the stipulation of the parties, the status

 9   conference now set for September 4 is CONTINUED to October 23, 2014 at 9:00 a.m. Time is
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     excluded pursuant to the Speedy Trial Act to that date. The ends of justice served by granting
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     the defendant’s request for a continuance for the purpose of defense preparation outweigh the
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     best interest of the public and the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h)(7)
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     (Local Code T4).
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            IT IS SO ORDERED.

16   Dated: September 3, 2014

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